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FOR THE DISTRlCT OF MARYLAND

IN THE UNlTED STATES DlsTRiCT CouR‘l‘ §§P?OVED”

§//V

REBECCA GROVE, Individually and as *
Personal Representative of the Estate of

 

ROYCE A. GROVE *

mainth * _United Sm_el Disu_'ict Jl`\d$¢
v. * Case no.: 12- CV- 02950 WDQ
KR.ISTIAN ULLOA, M.D., et al *

Defendants *

************#****#****

STIPULATION OF DISMISSAL WITH PREJUDICE
Pursuant to Rule 41 (A)(ii), the parties by their undersigned counsel stipulate to the

dismissal with prejudice of University of Maryland Surgical Associates, P.A. ONLY.

 

 

 

/s/ /s/
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Attomey for Plaintif`fs
(signed by J. Michael Sloneker with
permission ofMichael Smith)

